
Susan Beckford, Plaintiff-Appellant, 
againstMilano Furniture Warehouse Inc.,




Plaintiff appeals from a judgment of the Small Claims Part of the Civil Court of the City of New York, Bronx County (Lyle E. Frank J.), entered August 28, 2018, after trial, in favor of defendant dismissing the action.




Per Curiam.
Appeal from judgment (Lyle E. Frank, J.), entered on or about August 28, 2018, held in abeyance and the matter remanded to Civil Court for issuance of a decision in conformity with the requirements of CPLR 4213(b).
The trial court failed to comply with the specificity requirements of CPLR 4213(b) in rendering judgment in defendant's favor without setting forth its rationale or the facts essential to its determination. Inasmuch as this small claims action hinges in large measure upon issues of credibility raised by the parties' conflicting testimony, we hold the appeal in abeyance and remand the matter for issuance of a decision setting forth the essential facts as required by CPLR 4213(b) (see Brenner v De Bruin, 171 AD2d 833 [1991]; Ozzy Constr. Co. v Scott, 35 Misc 3d 139[A], 2012 NY Slip Op 50849[U][App Term, 1st Dept 2012]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur 
Decision Date: November 20, 2019










